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                     STATEMENT OF FACTS
                       United States v. Mark Eubanks


       In 2014, the Federal Bureau of Investigation (FBI) began an investigation of
a drug trafficking organization operating in central and southern Ohio. During the
course of the investigation, agents identified the defendant, Mark Eubanks as a
distributor of narcotics, including heroin. The FBI developed confidential sources
who admitted to previously purchasing heroin from Eubanks, and March 2015 and
August 2015, at the direction of law enforcement, a confidential source made
seven controlled purchases of heroin from Mr. Eubanks, for a total of
approximately ten ounces of heroin.

       In August and September of 2015, the U.S. District Court approved a request
for the interception of wire and electronic communications to and from Mr.
Eubanks' cell phone which was being used to facilitate the trafficking of narcotics.
Investigators intercepted dozens of phone calls in which Eubanks was discussing
the price, quantities and sale of heroin, with many of the transactions where
Eubanks would meet with his customers being surveilled by law enforcement.

      The investigation culminated on October 15, 2015, when Eubanks and seven
co-conspirators were arrested and search warrants were executed on Eubanks'
residence, other addresses associated with his heroin trafficking, and a storage unit
rented by Eubanks here iiUhe Southern District of Ohio. At his residence,
investigators found sewrePeaSfe of heroin and indicia ofdrug trafficking, such as
digital scales. Inside the storage unit rented by Eubanks, investigators found
multiple firearms, along with an additional quantity of heroin. During the
investigation, law enforcement further developed additional sources ofinformation
that further corroborated that Eubanks had been an ounce and multi-ounce source
of supply for heroin for multiple individuals over the pendency of theconspiracy

      Defendant Mark Eubanks now admits that between March 2015 and October
15, 2015, he knowingly, intentionally, and unlawfully conspired with other
individuals to possess with intent to distribute more than one kilogram of heroin, a
Schedule I controlled substance, in the Southern District of Ohio.
